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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY

                                                            )
STEVEN KRENTZ                                               )
                                                            )
               Plaintiff,                                   )
                                                            )
vs.                                                         ) Case No. 2:11-cv-00287-DCR-CJS
                                                            )
                                                            )
JAVITCH, BLOCK & RATHBONE, LLC                              )
                                                            )
               Defendant,                                   )
                                                            )
                                                            )

              STIPULATION OF MUTUAL DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. of Civ. P. 41(a), Plaintiff STEVEN KRENTZ and Defendant

JAVITCH, BLOCK & RATHBONE, LLC hereby stipulate to the dismissal, with prejudice, of

all claims asserted herein.

       Each party shall bear its own costs and attorney fees in connection with this action.

       This 18th day of January, 2012.

                                             LAW OFFICE OF JOHN FOOTE

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                                     JAVITCH, BLOCK & RATHBONE, LLC

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